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                                                                                                              FOIA SummRQs
                                                                                                              1/1



                                         UNITED STATES DISTRICT COURT
                                         FOR THE DISTRICT OF COLUMBIA

      Curtis Doupe and Doupe Services, LLC
               d/b/a Curtis Air Taxi                     )
                        Plaintiff                        )
                                                         )
                v.                                       )               Civil Action No.
          Federal Aviation Administration                )
                                                         )
                        Defendant                        )



                                            SUMMONS IN A CIVIL ACTION

To:     (Defendant’s name and address)
                                         Attorney General
                                         U.S. Department of Justice
                                         950 Pennsylvania Avenue, N.W.
                                         Washington, DC 20530-0001



        A lawsuit has been filed against you.

        Within 30 days after service of this summons on you (not counting the day you received it) you must
serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal Rules of
Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose name and
address are:
                      Jolyon ("Jol") A. Silversmith
                      KMA Zuckert LLC
                      888 17th Street N.W., Suite 700, Washington, DC 20006
                      (202) 973-7918




      If you fail to respond, judgment by default may be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.



                                                                ANGELA D. CAESAR, CLERK OF COURT



Date:
                                                                         Signature of Clerk or Deputy Clerk
                          Case 1:22-cv-03076 Document 1-4 Filed 10/11/22 Page 2 of 2

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                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

          7KLVVXPPRQVIRU(name of individual and title, if any)
ZDVUHFHLYHGE\PHRQ(date)                                        

          u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                              RQ(date)                          RU

          u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                           DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
          RQ(date)                           DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

          u ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                  ZKRLV
          GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)
                                                                              RQ(date)                          RU

          u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                          RU

          u 2WKHU(specify):
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'DWH
                                                                                     Server’s signature



                                                                                   Printed name and title




                                                                                      Server’s address

$GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
